         Case 1:23-cv-02433-ER                Document 75           Filed 10/28/24          Page 1 of 37




                                            UNITED STATES
                                SECURITIES AND EXCHANGE COMMISSION
                                                        100 F Street, NE
                                                      Washington, DC 20549



                                                                                                 Timothy K. Halloran
 DIVISION OF                                                                                     Senior Trial Counsel
ENFORCEMENT                                                                                         Tel: 202-551-4414
                                                                                             Email: hallorant@sec.gov


                                                October 25, 2024

VIA ECF                                         Defendants are directed to respond by November 4, 2024.
The Honorable Edgardo Ramos
United States District Judge                    SO ORDERED.
Thurgood Marshall U.S. Courthouse                                                      Edgardo Ramos, U.S.D.J.
40 Foley Square                                                                        Dated: October 28, 2024
New York, NY 10007                                                                     New York, New York


         Re:      SEC v. Sun, et al., Case No. 1:23-cv-02433-ER (S.D.N.Y.)
                  Notice of Supplemental Authority

Dear Judge Ramos:

        Plaintiff Securities and Exchange Commission (“SEC”) respectfully submits this letter to
notify the Court of a recent opinion by Judge Broderick in Hardin v. Tron Foundation, et al.,
Case No. 1:20-cv-02804-VSB (S.D.N.Y. Oct. 23, 2024) (attached hereto as Exhibit 1), which is
relevant to the Motion to Dismiss currently pending before this Court. See ECF Nos. 61, 62.
Judge Broderick’s opinion in Hardin further supports denial of the Motion to Dismiss here, as
previously requested by the SEC in its Opposition. See ECF No. 64.

        Hardin is a putative class action against certain defendants in this case, the Tron
Foundation and Justin Sun, in which plaintiffs alleged that defendants violated certain provisions
of the Securities Act of 1933 (“Securities Act”) by offering and selling TRX as a security
without registration. See Ex. 1 at 1-2. The Hardin plaintiffs asserted that TRX was offered and
sold in an initial coin offering (“ICO”) on a global crypto asset trading platform called Binance,
allegedly based in Malta, and later plaintiffs, who resided in Nevada and Texas, purchased TRX
through Binance. Id. at 5, 31. Sun and the Tron Foundation moved to dismiss on various
grounds, including purported lack of personal jurisdiction (arguing that the Tron Foundation is
based in Singapore and Sun resides in Asia) and extraterritoriality (claiming that the federal
securities laws do not reach the transactions at issue). See id. at 13, 31. Judge Broderick rejected
both arguments and substantially denied defendants’ motion to dismiss.1

1
          Judge Broderick granted the motion to dismiss certain claims asserted under Securities Act § 12(a)(2) as
time-barred and for lack of standing. See Ex. 1 at 23, 26. That portion of the opinion is not relevant here because,
among other things, the SEC did not bring any claims under § 12(a)(2) and the Sun Defendants did not raise any
statute of limitations or standing arguments in their Motion to Dismiss. See ECF No. 62.
         Case 1:23-cv-02433-ER              Document 75          Filed 10/28/24         Page 2 of 37




        First, regarding personal jurisdiction, Judge Broderick found that defendants
“‘purposefully availed’ themselves of conducting activities in the United States.” Id. at 13
(citation omitted). Judge Broderick explained that Sun and the Tron Foundation “promoted the
sale of TRX tokens in the United States market through social media and advertising efforts,”
including various tweets by Sun; “Sun attended and spoke at conferences in the United States” at
which he promoted the Tron ecosystem and TRX; and defendants opened an office in California
and listed TRX on domestic platforms. Id. at 13-14. Thus, Sun and the Tron Foundation had
“sufficient contacts with the United States for specific jurisdiction.” Id. at 15. Additionally,
Judge Broderick found that, although Sun and the Tron Foundation were “located abroad,”
exercising personal jurisdiction over them was “entirely reasonable.” Id. at 16.2

        Second, as to extraterritoriality, Judge Broderick concluded that the transactions at issue
were within the territorial reach of the federal securities laws. As Judge Broderick explained, the
federal securities laws reach (1) “transactions in securities listed on domestic exchanges” and/or
(2) “domestic transactions in other securities.” Id. at 30 (quoting Morrison v. Nat’l Australia
Bank Ltd., 561 U.S. 247, 267 (2010)). While defendants asserted that the federal securities laws
did not apply to the relevant transactions “because Plaintiffs purchased TRX on Binance, a
Malta-based company,” Judge Broderick disagreed. Id. at 31. He concluded that at least the
second prong of Morrison was satisfied because plaintiffs “placed their trades in Nevada and
Texas,” where they resided. Id. at 31-32. Thus, the transactions at issue “occurred in both the
United States and Malta,” and, at the motion to dismiss stage, Judge Broderick “reasonably
infer[red] that the transaction[s] [were] domestic.” Id. at 32.3

         Hardin is relevant to the Motion to Dismiss pending before this Court because it
involves: (1) two of the same defendants here (Sun and the Tron Foundation); (2) unregistered
offers and sales of one of the same crypto assets as here (TRX); and (3) the firm rejection of two
arguments asserted by Sun and the Tron Foundation here (personal jurisdiction and
extraterritoriality). Accordingly, Hardin supports denial of the Motion to Dismiss, as previously
requested in the SEC’s Opposition. See ECF No. 64 at 16-25 (addressing personal jurisdiction);
id. at 32-40 (addressing extraterritoriality).

                                                    Respectfully submitted,

                                                    /s/ Timothy K. Halloran
                                                    Timothy K. Halloran

cc:     Counsel of Record (via ECF)




2
          Similar to Hardin, the SEC’s Amended Complaint alleges, among other things, that the Sun Defendants
promoted TRX and BTT to U.S. investors through electronic communications, including tweets by Sun and
celebrities Sun paid; that Sun attended conferences in the U.S. to promote TRX and BTT; and that Sun and the Tron
Foundation entered into an agreement to have TRX listed on Bittrex, a U.S.-based trading platform. See ECF No.
64 at 18-20 (discussing allegations).
3
          Again, similar to Hardin, the SEC’s Amended Complaint alleges that the Sun Defendants targeted U.S.
investors with offers of TRX and BTT, and then made unregistered domestic sales of TRX and BTT to investors
who bought those crypto securities while located in the U.S. See ECF No. 64 at 36-40 (discussing allegations).

                                                        2
Case 1:23-cv-02433-ER   Document 75   Filed 10/28/24   Page 3 of 37




                Exhibit 1
       Case
        Case1:20-cv-02804-VSB
             1:23-cv-02433-ER                Document 75
                                                      114 Filed
                                                           Filed10/28/24
                                                                 10/23/24 Page
                                                                           Page41ofof37
                                                                                      34




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------- X
                                                          :
COREY HARDIN and CHASE WILLIAMS, :
individually and on behalf of all others                  :
similarly situated,                                       :
                                        Plaintiffs,       :       20-CV-2804 (VSB)
                                                          :
                      - against -                         :     OPINION & ORDER
                                                          :
TRON FOUNDATION, JUSTIN SUN, and :
ZHIQIANG (LUCIEN) CHEN,                                   :
                                                          :
                                         Defendants. :
--------------------------------------------------------- X

Appearances:

Mitchell D. Nobel
Cantor Fitzgerald
New York, New York
Counsel for Plaintiffs

Jordan Ari Goldstein
Philippe Zuard Selendy
Selendy & Gay PLLC
New York, New York
Counsel for Plaintiffs

Michael Dicke
Dean S. Kristy
Casey Thomas O'Neill
Fenwick & West LLP
San Francisco, California
Counsel for Defendants TRON Foundation and Justin Sun

VERNON S. BRODERICK, United States District Judge:

        Lead Plaintiffs Corey Hardin and Chase Williams, individually and on behalf of all others

similarly situated, bring this putative class action against Defendants TRON Foundation, Justin

Sun, and Zhiqiang (Lucien) Chen, alleging that Defendants violated the Securities Act of 1933

(the “Securities Act”), 15 U.S.C. §§ 77a, et seq., by promoting, offering, and selling unregistered
        Case
         Case1:20-cv-02804-VSB
              1:23-cv-02433-ER                Document 75
                                                       114 Filed
                                                            Filed10/28/24
                                                                  10/23/24 Page
                                                                            Page52ofof37
                                                                                       34




securities through an initial coin offering of the digital asset TRX. Before me is Defendants

TRON Foundation’s and Justin Sun’s motion to dismiss Plaintiffs’ Amended Class Action

Complaint (“Amended Complaint”) under Federal Rule of Civil Procedure 12(b)(1), 12(b)(2),

and 12(b)(6), or in the alternative, pursuant to the doctrine of forum non conveniens. (Doc. 55.)

For the following reasons, Defendants’ motion to dismiss is GRANTED in part and DENIED in

part.

                  Factual Background 1

         Defendant TRON Foundation (“TRON” or “Tron Foundation”) “is a blockchain-focused

software development company that is developing and promoting the TRON blockchain

protocol.” (Am. Compl. ¶ 21.) 2 TRON has offices in California, Singapore, and Beijing. (Id.)

Defendant Justin Sun is a co-founder and Chief Executive Officer (“CEO”) of TRON. (Id. ¶¶

22, 68.) Defendant Zhiqiang (Lucien) Chen is a co-founder and former Chief Technology

Officer of TRON. (Id. ¶ 23.)

         From August 24, 2017 through the filing of the Amended Complaint, TRON promoted,

offered, and sold TRX tokens, a type of digital token. (Id. ¶¶ 1–2.) A digital token is a type of

digital asset that exists on a “blockchain,” which is a decentralized digital ledger that records

transactions. (Id. ¶ 2.) These assets are sometimes referred to as “crypto-assets.” (Id.) Various

types of crypto-assets can reside on blockchains, including crypto-assets such as Bitcoin and


1
  The facts set forth herein are taken from the allegations contained in Plaintiffs’ Amended Complaint. (Doc. 29.) I
also consider certain exhibits attached to declarations to the extent they are incorporated by reference or are integral
to the Amended Complaint. See Cohen v. Rosicki, Rosicki & Assocs., P.C., 897 F.3d 75, 80 (2d Cir. 2018) (“A
complaint is deemed to include any written instrument attached to it as an exhibit, materials incorporated in it by
reference, and documents that, although not incorporated by reference, are integral to the complaint.” (citation
omitted)). I assume these factual allegations to be true for purposes of this motion. See Kassner v. 2nd Ave.
Delicatessen Inc., 496 F.3d 229, 237 (2d Cir. 2007). My references to these allegations should not be construed as a
finding as to their veracity, and I make no such findings.
2
 “Am. Compl.” or “Amended Complaint” refers to the Amended Class Action Complaint filed by Plaintiffs on
August 24, 2020. (Doc. 29.)



                                                                2
         Case
          Case1:20-cv-02804-VSB
               1:23-cv-02433-ER                  Document 75
                                                          114 Filed
                                                               Filed10/28/24
                                                                     10/23/24 Page
                                                                               Page63ofof37
                                                                                          34




Ethereum, which are decentralized digital commodities. (Id.) “Other tokens are more

speculative, are referred to as ‘security tokens,’ and like a traditional security, essentially

represent one’s investment in a project that is to be undertaken with the funds raised through the

sale of the tokens.” (Id. ¶ 4.)

           In June 2017, prior to its launch, TRON published the first “TRON whitepaper.” (Id. ¶

59.) Issuers traditionally release a whitepaper to advertise the sale of tokens and describe the

project and terms of the initial coin offering. (Id. ¶ 54.) The whitepaper described the TRON

protocol as “the blockchain’s entertainment system of free content, in which TRX, TRON’s coin,

is circulated” and an attempt to “heal the Internet.” (Id. ¶ 59.) TRON described TRX as part of

a “decentralized content entertainment ecosystem.” (Id. ¶ 82.) It also indicated that its platform

was “currently up and running” with a roadmap for ten years of prospective development. (Id.)

           TRON created 100 billion tokens at its launch, approximately 35 percent of which TRON

retained. (Id. ¶¶ 60–61.) TRON sold an additional 15 percent as a “private offering.” (Id. ¶ 61.)

TRON sold the remaining 40 percent during TRX’s initial coin offering (“ICO”). 3 (Id. ¶ 62.)

The ICO raised approximately $70 million. (Id.)

           Several crypto-asset exchanges promoted the TRON ICO. (Id. ¶ 63.) TRX was then

available for sale on various exchanges and through links to other exchanges on TRON’s

website. (Id. ¶¶ 64, 66.) TRON’s website included a page dedicated to TRX, listing TRX’s




3
    The U.S. Securities and Exchange Commission (“SEC”) has defined an “initial coin offering” or “ICO” as
           [A] recently developed form of fundraising event in which an entity offers participants a unique
           digital “coin” or “token” in exchange for consideration (most commonly Bitcoin, Ether, or fiat
           currency). The [coins] are issued and distributed on a “blockchain” or cryptographically-secured
           ledger. [Coins] often are also listed and traded on online platforms, typically called virtual currency
           exchanges, and they usually trade for other digital assets or fiat currencies. Often, [coins] are listed
           and tradeable immediately after they are issued.
In the Matter of Munchee Inc., Securities Act Release No. 10445, 2017 WL 10605969, at *2 n.1 (Dec. 11, 2017).



                                                                  3
      Case
       Case1:20-cv-02804-VSB
            1:23-cv-02433-ER            Document 75
                                                 114 Filed
                                                      Filed10/28/24
                                                            10/23/24 Page
                                                                      Page74ofof37
                                                                                 34




global market performance, the number of holders, and its “Global Rank.” (Id. ¶ 66.) TRON’s

website included links to dozens of exchanges where individuals could purchase TRX tokens—at

the time of the filing of the Amended Complaint—it listed “over 75 exchanges on which TRX

[was] available.” (Id.) “TRON also published updated whitepapers that continued to explain

why investors in TRX tokens should expect profits and touted the quality of its management

team.” (Id.) TRON and Defendant Sun also promoted and solicited customers to purchase TRX

on their social media accounts. (Id. ¶ 67.) In 2017 and 2018, Defendants touted TRX at

conferences in New York City and San Francisco. (Id. ¶ 70.)

        TRON stated in its whitepapers that “TRX is not a security” and that “owning TRX does

not mean that its owner has been afforded with the proprietary right, controlling right, and/or

policy-making right regarding the TRON platform.” (Id. ¶ 72.) It also stated that “‘TRX does

not belong to any of the following categories: (a) currency of any type; (b) securities; (c) stock

rights of a legal entity; (d) stocks, bonds, bills, warrants, certificates, investment contract, or

other instruments affording similar rights.” (Id.) Consistent with these representations, TRON

never registered TRX as a security with the Securities Exchange Commission (“SEC”). (Id.)

        On April 3, 2019, the SEC published a “Framework for ‘Investment Contract’ Analysis

of Digital Assets” (the “Framework”). (Id. ¶ 108.) Its stated purpose was to analyze “whether a

digital asset is an investment contract and whether offers and sales of a digital asset are securities

transactions.” (Id.) The Framework stated: “If you are considering an Initial Coin Offering,

sometimes referred to as an ‘ICO,’ or otherwise engaging in the offer, sale, or distribution of a

digital asset, you need to consider whether the U.S. federal securities laws apply.” (Id. ¶ 109.)

The Framework then cited the Supreme Court’s decision in SEC. v. W.J. Howey Co., 328 U.S.

293 (1946), as guidance for determining whether federal securities laws apply. (Id. ¶ 109.)




                                                       4
      Case
       Case1:20-cv-02804-VSB
            1:23-cv-02433-ER           Document 75
                                                114 Filed
                                                     Filed10/28/24
                                                           10/23/24 Page
                                                                     Page85ofof37
                                                                                34




       Starting on March 29, 2018, lead Plaintiff Corey Hardin, a resident of Nevada, purchased

TRX numerous times from Nevada on the Binance platform. (Id. ¶ 18; id. Ex. A, at. 4) He then

continued to buy and sell TRX on Binance through March 21, 2020. (Id., Ex. A, at 27.) Lead

Plaintiff Chase Williams, a resident of Texas, purchased TRX from Texas on Binance and sold

TRX on Binance on May 8, 2019. (Id. ¶ 20; id. Ex. C, at 4.) Neither Hardin nor Williams

purchased TRX during the ICO. (Id., Exs. A, C.) The putative class members include all

persons who purchased TRX tokens, first sold on or about August 24, 2017, in a domestic

transaction and were injured thereby. (Id. ¶ 151.) Plaintiffs allege the price of TRX has dropped

more than 95 percent from its 2018 high. (Id. ¶¶ 145–46.) The tokens are now worth less than

what Plaintiffs paid for them. (Id.)

               Procedural History

       Plaintiffs filed their initial complaint on April 3, 2020, (Doc. 1), alleging the following

claims against Defendants: (1) violation of Sections 5 and 12(a)(1) of the Securities Act for the

unregistered offer and sale of securities in the form of TRX; (2) violation of Sections 5 and

12(a)(1) of the Securities Act against Defendants Sun and Chen as “control persons” of TRON;

(3) violation of 815 Ill. Comp. Stat. Ann. 5/13 for the unregistered offer and sale of securities in

the form of TRX; (4) violation of 815 Ill. Comp. Stat. Ann. 5/13 against Defendants Sun and

Chen as “control persons” of TRON; (5) violation of Tex. Rev. Civ. Stat. art. 581-33 for the

unregistered offer and sale of securities in the form of TRX; and (6) violation of Tex. Rev. Civ.

Stat. art. 581-33 against Sun and Chen as “control persons” of TRON. (Id.) On June 8, 2020,

Plaintiffs Corey Hardin, David Muhammad, and Chase Williams filed their Motion for

Appointment as Lead Plaintiffs. (Doc. 18). I granted the Motion for Appointment as Lead

Plaintiffs on June 30, 2020. (Doc. 25). On August 25, 2020, Plaintiff Alexander Clifford was




                                                     5
       Case
        Case1:20-cv-02804-VSB
             1:23-cv-02433-ER              Document 75
                                                    114 Filed
                                                         Filed10/28/24
                                                               10/23/24 Page
                                                                         Page96ofof37
                                                                                    34




terminated from the action. (See id.; Doc. 29.)

        On August 24, 2020, Plaintiffs filed their Amended Complaint, (Doc. 29), adding one

hundred additional claims for violations of the Blue Sky securities laws of the District of

Columbia, Puerto Rico, and every state—except Delaware and New York—against Defendant

TRON and against Defendants Sun, and Chen as “control persons.” Plaintiffs also added two

claims under the Securities Act: (1) violation of Sections 5 and 12(a)(2) for the sale of securities

in the form of TRX by means of a prospectus containing untrue statements or omissions of

material facts against Defendant TRON, and (2) violation of Sections 5 and 12(a)(2) for the sale

of securities in the form of TRX by means of a prospectus containing untrue statements or

omissions of material facts against Sun and Chen as “control persons” of TRON. (Id.)

        On December 15, 2020, TRON and Sun filed a motion to dismiss the Amended

Complaint under Federal Rules of Civil Procedure 12(b)(1), 12(b)(2), and 12(b)(6), or in the

alternative, pursuant to the doctrine of forum non conveniens. (Doc. 54.) On that same day,

Defendants TRON and Sun also submitted a memorandum of law, (“Def.’s Mem.”), 4 several

supporting declarations, (Docs. 57–59), and a Notice of Documents Incorporated by Reference

and Request for Judicial Notice, (Doc. 56). Defendants do not move to dismiss on the grounds

that TRX is in fact a security, but rather on the Amended Complaint’s other alleged flaws.

(Def.’s Mem. 1.) Defendants TRON and Sun filed a notice of supplemental authority on

February 6, 2023. (Doc. 102; see also Doc. 103.) Plaintiffs filed their own notice of

supplemental authority on March 27, 2023. (Doc. 104; see also Doc. 105.) Each party filed

additional notices of supplemental authority after the Second Circuit issued its decision in




4
  “Def.’s Mem.” refers to Defendants’ memorandum of law in support of the motion to dismiss the Amended
Complaint. (Doc. 55.)



                                                          6
       Case
       Case1:20-cv-02804-VSB
            1:23-cv-02433-ER                Document
                                            Document75
                                                     114 Filed
                                                           Filed
                                                               10/28/24
                                                                 10/23/24 Page
                                                                           Page107of
                                                                                   of37
                                                                                      34




Williams v. Binance, 96 F.4th 129, 132 (2d Cir. 2024). (Docs. 106–08.)

        Defendant Chen has not appeared nor filed an answer in this action. On February 10,

2021, a certificate of default was entered against Defendant Chen. (Doc. 65.) On February 16,

2021, Plaintiffs filed their opposition to Defendants’ motion to dismiss, (“Pl.’s Opp.”), 5 along

with several supporting declarations, (Docs. 67–70). On April 2, 2021, Defendants TRON and

Sun filed their reply. (“Def.’s Reply.”) 6 On May 12, 2021, Plaintiff Muhammad filed a Notice

of Voluntary Dismissal pursuant to Federal Rule of Civil Procedure 41(a), voluntarily dismissing

all his claims against all Defendants without prejudice. (Doc. 78.) Plaintiffs Hardin and

Williams remain the lead plaintiffs in this action. (Id.)

        On August 31, 2022, Kyle Roche, one of the named partners at Roche Freedman LLP,

co-counsel for Plaintiffs, filed a motion to withdraw, explaining that he was “no longer involved

in [Roche Freedman LLP’s] class action practice.” (Doc. 88.) In response to the motion,

Defendants filed a letter requesting that I “remove the Roche Freedman firm (not just Mr. Roche)

as co‐counsel for plaintiffs in this case.” (Doc. 89.) Defendants explained that Mr. Roche was

captured on video “(1) discussing his financial interest in a third‐party cryptocurrency company;

(2) discussing his misuse of class action litigation as a ‘strategic instrument’ or ‘tool’ to benefit

that personal financial interest and harm cryptocurrency competitors, which is ‘a completely

different way than being a lawyer’; and (3) making other derogatory comments about both class

members and jurors.” (Id.) Roche Freedman LLP objected to the request, attempting to distance

itself from Mr. Roche’s “inappropriate comments.” (Doc. 92.) Selendy Gay Elsberg, co-lead




5
 “Pl.’s Opp.” refers to Plaintiffs’ memorandum of law in support of their opposition to Defendants’ motion to
dismiss. (Doc. 66.)
6
 “Def.’s Reply” refers to Defendants’ reply memorandum of law in support of the motion to dismiss the Amended
Complaint. (Doc. 73.)



                                                             7
      Case
      Case1:20-cv-02804-VSB
           1:23-cv-02433-ER            Document
                                       Document75
                                                114 Filed
                                                      Filed
                                                          10/28/24
                                                            10/23/24 Page
                                                                      Page118of
                                                                              of37
                                                                                 34




counsel for Plaintiffs, subsequently requested that I terminate Roche Freedman LLP from the

case. (Doc. 93.) After reviewing the submissions, I scheduled a conference in this matter, at

which Roche Freedman LLP indicated that it would move to withdraw. (Docs. 94, 97.) I

granted Roche Freedman LLP’s motion to withdraw on October 24, 2023. (Doc. 99.)

               Legal Standards

               A.      Rule 12(b)(6)

       To survive a motion to dismiss under Federal Rule of Civil Procedure 12(b)(6), “a

complaint must contain sufficient factual matter, accepted as true, to ‘state a claim to relief that is

plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v.

Twombly, 550 U.S. 544, 570 (2007)). A claim will have “facial plausibility when the plaintiff

pleads factual content that allows the court to draw the reasonable inference that the defendant is

liable for the misconduct alleged.” Id. This standard demands “more than a sheer possibility

that a defendant has acted unlawfully.” Id. “Plausibility . . . depends on a host of considerations:

the full factual picture presented by the complaint, the particular cause of action and its elements,

and the existence of alternative explanations so obvious that they render plaintiff’s inferences

unreasonable.” L-7 Designs, Inc. v. Old Navy, LLC, 647 F.3d 419, 430 (2d Cir. 2011).

       In considering a motion to dismiss, a court must accept as true all well-pleaded facts

alleged in the complaint and must draw all reasonable inferences in the plaintiff’s favor.

Kassner, 496 F.3d at 237. A complaint need not make “detailed factual allegations,” but it must

contain more than mere “labels and conclusions” or “a formulaic recitation of the elements of a

cause of action.” Iqbal, 556 U.S. at 678 (internal quotation marks omitted). Although all

allegations contained in the complaint are assumed to be true, this tenet is “inapplicable to legal

conclusions.” Id.




                                                      8
      Case
      Case1:20-cv-02804-VSB
           1:23-cv-02433-ER             Document
                                        Document75
                                                 114 Filed
                                                       Filed
                                                           10/28/24
                                                             10/23/24 Page
                                                                       Page129of
                                                                               of37
                                                                                  34




       A complaint is “deemed to include any written instrument attached to it as an exhibit,

materials incorporated in it by reference, and documents that, although not incorporated by

reference, are integral to the complaint.” Cohen v. Rosicki, Rosicki & Assocs., P.C., 897 F.3d 75,

80 (2d Cir. 2018) (citation omitted).

       “Rule 12(b)(6) provides the most appropriate legal basis for a motion to dismiss on

statute of limitations grounds.” La Russo v. St. George’s Univ. Sch. of Med, 936 F. Supp. 2d

288, 297 (S.D.N.Y. 2013). “A court accordingly may dismiss a claim on statute of limitations

grounds at the pleadings stage if the complaint clearly shows the claim is out of time.” Whiteside

v. Hover-Davis, Inc., 995 F.3d 315, 319 (2d Cir. 2021) (internal quotation marks omitted).

               B.      Rule 12(b)(1)

       “Determining the existence of subject matter jurisdiction is a threshold inquiry[,] and a

claim is properly dismissed for lack of subject matter jurisdiction under Rule 12(b)(1) when the

district court lacks the statutory or constitutional power to adjudicate it.” Morrison v. Nat’l

Austl. Bank Ltd., 547 F.3d 167, 170 (2d Cir. 2008) (citation omitted), aff’d, 561 U.S. 247 (2010);

see also United States v. Bond, 762 F.3d 255, 263 (2d Cir. 2014) (describing subject matter

jurisdiction as the “threshold question”) (internal quotation marks omitted). While a district

court resolving a motion to dismiss under Rule 12(b)(1) “must take all uncontroverted facts in

the complaint . . . as true, and draw all reasonable inferences in favor of the party asserting

jurisdiction,” “where jurisdictional facts are placed in dispute, the court has the power and

obligation to decide issues of fact by reference to evidence outside the pleadings, such as

affidavits,” in which case “the party asserting subject matter jurisdiction has the burden of

proving by a preponderance of the evidence that it exists.” Tandon v. Captain’s Cove Marina of

Bridgeport, Inc., 752 F.3d 239, 243 (2d Cir. 2014) (internal quotation marks omitted); Ernst v.




                                                      9
     Case
      Case1:20-cv-02804-VSB
           1:23-cv-02433-ER            Document 75
                                                114 Filed
                                                     Filed10/28/24
                                                           10/23/24 Page
                                                                     Page13
                                                                          10ofof37
                                                                                 34




Gateway Plaza Mgmt. Corp., No. 11-CV-1169, 2012 WL 1438347, at *2 (S.D.N.Y. Mar. 14,

2012) (“In deciding jurisdictional issues, the court may rely on affidavits and other evidence

outside the pleadings.”).

               C.      Rule 12(b)(2)

       “On a motion to dismiss pursuant to Federal Rule of Civil Procedure 12(b)(2), the

plaintiff bears the burden of establishing personal jurisdiction.” BWP Media USA Inc. v.

Hollywood Fan Sites, LLC, 69 F. Supp. 3d 342, 349 (S.D.N.Y. 2014) (citing MacDermid, Inc. v.

Deiter, 702 F.3d 725, 727 (2d Cir. 2012)). Before any evidentiary hearing, however, “a plaintiff

challenged by a jurisdiction testing motion may defeat the motion by pleading in good faith,

legally sufficient allegations of jurisdiction.” Dorchester Fin. Sec., Inc. v. Banco BRJ, S.A., 722

F.3d 81, 84 (2d Cir. 2013) (quoting Ball v. Metallurgie Hoboken-Overpelt, S.A., 902 F.2d 194,

197 (2d Cir. 1990)). At this preliminary stage, the plaintiff only needs to make a “prima facie

showing” of jurisdiction, which “may be established solely by allegations.” Id. In deciding on

such a motion, the court can look beyond the pleadings at affidavits and other supporting

materials. See Whitaker v. Am. Telecasting, Inc., 261 F.3d 196, 208 (2d Cir. 2001). The

allegations in the complaint “must be taken as true to the extent they are uncontroverted by the

defendant’s affidavits.” MacDermid, Inc., 702 F.3d at 727. Moreover, “all pleadings and

affidavits are to be construed in the light most favorable to the plaintiff,” Dorchester Fin. Sec.,

Inc., 722 F.3d at 84 (internal quotation marks omitted), and “the plaintiff’s prima facie showing

is sufficient notwithstanding the contrary presentation by the moving party,” Seetransport

Wiking Trader Schiffarhtsgesellschaft MBH & Co., Kommanditgesellschaft v. Navimpex

Centrala Navala, 989 F.2d 572, 580 (2d Cir. 1993) (quoting Taylor v. Phelan, 912 F.2d 429, 431

(10th Cir. 1990) (per curiam)). The court, however, “will not draw argumentative inferences in




                                                     10
     Case
      Case1:20-cv-02804-VSB
           1:23-cv-02433-ER           Document 75
                                               114 Filed
                                                    Filed10/28/24
                                                          10/23/24 Page
                                                                    Page14
                                                                         11ofof37
                                                                                34




the plaintiff’s favor; nor must [a court] accept as true a legal conclusion couched as a factual

allegation.” In re Terrorist Attacks on Sept. 11, 2001, 714 F.3d 659, 673 (2d Cir. 2013) (internal

quotation marks omitted).

               Discussion

               A. Jurisdiction

                       1. Personal Jurisdiction Over Defendants TRON and Sun

       “To establish personal jurisdiction over a defendant, due process requires a plaintiff to

allege (1) that a defendant has certain minimum contacts with the relevant forum, and (2) that the

exercise of jurisdiction is reasonable in the circumstances.” Id. at 674 (internal quotation marks

omitted). “For purposes of this initial [minimum contacts] inquiry, a distinction is made between

‘specific’ jurisdiction and ‘general’ jurisdiction.” SPV Osus Ltd. v. UBS AG, 882 F.3d 333, 343

(2d Cir. 2018) (quoting Met. Life Ins. Co. v. Robertson–Ceco Corp., 84 F.3d 560, 567 (2d Cir.

1996)). “Specific jurisdiction exists when a court exercises personal jurisdiction over a

defendant in a suit arising out of or related to the defendant’s contact with the forum, and general

jurisdiction is based on the defendant’s general business contacts with the forum state and

permits a court to exercise its power in a case where the subject matter of the suit is unrelated to

those contacts.” In re Platinum & Palladium Antitrust Litig., 61 F.4th 242, 269 (2d Cir. 2023)

(internal quotation marks omitted).

       Here, Plaintiff alleges that TRON and Sun are subject to specific jurisdiction in New

York. To determine whether specific jurisdiction exists, courts must assess the “defendant’s

contacts with the forum state under a totality of the circumstances test.” Best Van Lines, Inc. v.

Walker, 490 F.3d 239, 242 (2d Cir. 2007) (quoting Burger King Corp. v. Rudzewicz, 471 U.S.

462, 475 (1985)). “The crucial question is whether the defendant has purposefully availed itself




                                                     11
     Case
      Case1:20-cv-02804-VSB
           1:23-cv-02433-ER           Document 75
                                               114 Filed
                                                    Filed10/28/24
                                                          10/23/24 Page
                                                                    Page15
                                                                         12ofof37
                                                                                34




of the privilege of conducting activities within the forum State, thus invoking the benefits and

protections of its laws, such that the defendant should reasonably anticipate being haled into

court there.’” Id. (internal quotation marks and citations omitted). The Court must also ensure

that exercising jurisdiction over the defendant “does not offend traditional notions of fair play

and substantial justice.” Int’l Shoe Co. v. Washington, 326 U.S. 310, 316 (1945) (internal

quotation marks omitted). A plaintiff need not show that the “claim came about because of the

defendant’s in-state conduct.” Ford Motor Co. v. Montana Eighth Jud. Dist. Ct., 592 U.S. 351,

362 (2021). Rather, the suit must “arise out of or relate to the defendant’s contacts with the

forum.” Id. (citation omitted). There is no requirement that the defendant reside in the forum for

the Court to exercise personal jurisdiction over him. See id. at 365 (holding that the nonresident

defendant was subject to personal jurisdiction because it had “purposefully avail[ed]” itself of

that forum through advertising means meant to target residents of the forum).

       The Securities Act authorizes nationwide service of process, meaning courts may

consider “contacts with the United States as a whole” when determining whether they may

exercise jurisdiction over defendants. 15 U.S.C. § 77v(a); Balestra v. ATBCOIN LLC, 380 F.

Supp. 3d 340, 349–350 (S.D.N.Y. 2019) (analyzing defendants’ contacts with the United States

as a whole when determining personal jurisdiction for claims arising under the Securities Act).

Although the Second Circuit has not yet decided what contacts are relevant to determining

whether defendants possess sufficient minimum contacts under statutes, like the Securities Act,

which permit nationwide service of process, see Owen v. Elastos Found., No. 19-CV-5462, 2021

WL 5868171, at *7 (S.D.N.Y. Dec. 9, 2021), it has observed that several other courts of appeals

“have endorsed the position that, when a civil case arises under federal law and a federal statute

authorizes nationwide service of process, the relevant contacts for determining personal




                                                     12
     Case
      Case1:20-cv-02804-VSB
           1:23-cv-02433-ER           Document 75
                                               114 Filed
                                                    Filed10/28/24
                                                          10/23/24 Page
                                                                    Page16
                                                                         13ofof37
                                                                                34




jurisdiction are contacts with the United States as a whole,” Gucci Am., Inc. v. Weixing Li, 768

F.3d 122, 142 n.21 (2d Cir. 2014)).

       Defendants argue that I lack personal jurisdiction over TRON and Sun because TRON

was incorporated under the laws of Singapore and Sun is believed to be domiciled in China.

(Def.’s Mem. 32.) However, I find that Plaintiffs make a prima facie showing that TRON and

Sun had sufficient contacts with the United States so as to have “purposefully availed”

themselves of conducting activities in the United States. Best Van Lines, Inc., 490 F.3d at 242.

The facts in the Amended Complaint establish that TRON and Sun directed their efforts relating

to the TRX launch at the United States through their targeted advertisements, attendance at

conferences, and solicitation to United States consumers and investors. These efforts are central

to Defendants’ contacts with the forum. See Balestra, 380 F. Supp. 3d at 350–51 (basing

jurisdictional analysis on Defendants’ efforts to promote the sale of cryptocurrency in the U.S.

market).

       First, Defendants promoted the sale of TRX tokens in the United States market through

social media and advertising efforts. On July 20, 2018, Sun tweeted: “#TRON #TRX is

available now for $USD at @Changelly_team Instant Exchange. Users can use the credit card to

purchase $TRX directly through it.” (Am. Compl. ¶ 67.) On September 18, 2018, TRON

Foundation tweeted: “You can now buy $TRX directly with USD on @BittrexExchange,”

accompanied by a news article that reads: “Bittrex instigates both Litecoin (LTC) and Tron

(TRX) into the USD market. . . . This is a significant milestone for Tron (TRX) in particular, as

this is the first time that Tron has been paired with the USD in the United States.” (Id.) On June

22, 2019, Sun tweeted: “#TRX is widely used now, here is a summary which $TRX can be

bought with: -$USD…” (Id.) On December 15, 2019, Sun tweeted: “We will make $TRX




                                                    13
      Case
       Case1:20-cv-02804-VSB
            1:23-cv-02433-ER               Document 75
                                                    114 Filed
                                                         Filed10/28/24
                                                               10/23/24 Page
                                                                         Page17
                                                                              14ofof37
                                                                                     34




available for all [American flag emoji] users! More options are on the way! #TRON #TRX. . . .

” (Id.) On March 6, 2020, Sun tweeted: “Trading now! If your friends ask you where is the

best exchange to buy $TRX in United States and Europe, the best answer is @krakenfx ! #TRON

#TRX $TRX”. (Id.)

        Second, Defendant Sun attended and spoke at conferences in the United States in 2017

and 2018, including in New York City and San Francisco. (Id. ¶ 70.) Sun touted TRON and

TRX at these conferences. (Id.) A video and transcript of Sun’s interview at the 2019

Consensus conference in New York City are available on YouTube and on CoinDesk’s website.

(Roche Decl. Ex. 8.) 7 Other representatives from TRON also attended these conferences. (Id.)

On November 9, 2018, TRON Foundation tweeted a photograph of TRON employees alongside

the caption: “Our team was delighted to meet the $TRX community in New York during a

meetup co-hosted with @team_tronics!” (Roche Decl. Ex. 1.) On December 22, 2018, TRON

Foundation tweeted a photograph of the New York City skyline alongside the caption: “Are you

located in New York or visiting for the holidays? Join the TRON team, industry leaders, and

engineers to a social networking event to talk more about the blockchain ecosystem and how you

can be a part of building it. . . .” (Id. Ex. 2.) According to a news article, Sun was also present in

the United States around the time of the ICO. (Am. Compl. ¶ 70.)

        Third, TRON opened an office in California and has continued to list TRX on domestic

exchanges. (Id. ¶¶ 27, 67.) Plaintiffs allege in the Amended Complaint that TRON’s solicitation

to list TRX on domestic exchanges required outreach efforts and coordination with the

exchanges to support the listings. (Id. ¶¶ 136–44.) TRON also operates a U.S.-based website to




7
 “Roche Decl.” refers to the declaration of Kyle W. Roche in opposition regarding Defendants’ motion to dismiss.
(Doc. 70.)



                                                           14
     Case
      Case1:20-cv-02804-VSB
           1:23-cv-02433-ER            Document 75
                                                114 Filed
                                                     Filed10/28/24
                                                           10/23/24 Page
                                                                     Page18
                                                                          15ofof37
                                                                                 34




further promote TRX tokens on the U.S. market and to lead potential customers and investors to

domestic exchanges where they could purchase TRX. (Roche Decl. Ex. 5–6.) TRON

Foundation’s Twitter account also lists its location as San Francisco. (Id. Ex. 1.)

       All in all, Defendants’ participation in conferences, efforts to advertise and promote TRX

on the U.S. market, solicitation to domestic exchanges, and establishment of an office in the

United States demonstrate that both TRON and Sun “purposefully avail[ed themselves] of the

privilege of conducting [business] activities” related to TRX in the United States. Best Van

Lines, Inc., 490 F.3d at 242 (quoting Burger King, 471 U.S. at 475). Because Defendants

engaged in substantial suit-related conduct in the United States, I find that they have sufficient

contacts with the United States for specific jurisdiction. See Walden v. Fiore, 571 U.S. 277, 284

(2014) (“For a State to exercise jurisdiction consistent with due process, the defendant’s suit-

related conduct must create a substantial connection with the forum State.”). The fact that Sun

resides in China and TRON was formed in Singapore cannot overcome the fact that Sun and

TRON “purposefully avail[ed]” themselves of the forum through their intentionally-created

contacts with the United States and, more specifically, with New York. See Ford Motor Co.,

592 U.S. at 362.

       Once a plaintiff has demonstrated the requisite minimum contacts between the defendant

and the forum state, a court is required to continue to the “reasonableness” stage of the

personal-jurisdiction inquiry. Whether the exercise of specific jurisdiction is reasonable in a

particular case depends on, among other things, “(1) the burden that the exercise of jurisdiction

will impose on the defendant; (2) the interests of the forum state in adjudicating the case; (3) the

plaintiff’s interest in obtaining convenient and effective relief; (4) the interstate judicial system’s

interest in obtaining the most efficient resolution of the controversy; and (5) the shared interest




                                                      15
     Case
      Case1:20-cv-02804-VSB
           1:23-cv-02433-ER            Document 75
                                                114 Filed
                                                     Filed10/28/24
                                                           10/23/24 Page
                                                                     Page19
                                                                          16ofof37
                                                                                 34




of the states in furthering substantive social policies.” Salomon Smith Barney, Inc. v.

McDonnell, 201 F.R.D. 297, 305 (S.D.N.Y. 2001) (citing Chaiken v. VV Publ’g Corp., 119 F.3d

1018, 1028 (2d Cir.1997)).

       Applying these factors here, I conclude that an exercise of jurisdiction over TRON and

Sun is entirely reasonable. Because this is a case brought under federal law, the judicial system

has a strong interest in resolving it here. Additionally, although Plaintiffs reside out of state,

they have an interest in obtaining an efficient resolution of this dispute. Moreover, providing a

forum to adjudicate securities-law violations that occur here furthers the substantive social policy

of providing accountability against those that engage in commerce in the United States and injure

those whom they deal with here. The only factor weighing against the reasonableness of

exercising personal jurisdiction over TRON and Sun is the burden that the exercise of

jurisdiction imposes on them to litigate the case here, as they are located abroad. I find,

however, that on balance this factor does not outweigh the other factors pertinent to my

reasonableness analysis. See S.E.C. v. Straub, 921 F. Supp. 2d 244, 259 (S.D.N.Y. 2013) (“Like

each and every court in this Circuit to have applied the reasonableness standard after determining

that a given defendant has the requisite minimum contacts, this Court finds that this is not the

rare case where the reasonableness analysis defeats the exercise of personal jurisdiction.”).

Therefore, Defendants’ motion to dismiss for lack of personal jurisdiction is DENIED.

                       2. Forum Non Conveniens

       The doctrine of forum non conveniens permits a court to dismiss an action “even if the

court is a permissible venue with proper jurisdiction over the claim.” Carey v. Bayerische Hypo-

und Vereinsbank AG, 370 F.3d 234, 237 (2d Cir. 2004). A district court should dismiss a

complaint where, on balance, the resolution of the matter in an adequate alternative forum would




                                                      16
     Case
      Case1:20-cv-02804-VSB
           1:23-cv-02433-ER           Document 75
                                               114 Filed
                                                    Filed10/28/24
                                                          10/23/24 Page
                                                                    Page20
                                                                         17ofof37
                                                                                34




be more convenient for the parties and courts and more just. See R. Maganlal & Co. v. M.G.

Chem. Co., 942 F.2d 164, 167 (2d Cir. 1991) (“The central purpose of a forum non conveniens

inquiry is to determine where trial will be most convenient and will serve the ends of justice.”).

District courts have broad discretion in applying this principle, and typically conduct a three-step

analysis in the exercise of that discretion: (1) “the degree of deference properly accorded the

plaintiff’s choice of forum”; (2) “whether the alternative forum proposed by the defendants is

adequate to adjudicate the parties’ dispute”; and (3) the balance of “the private and public

interests implicated in the choice of forum.” Norex Petroleum Ltd. v. Access Indus., Inc., 416

F.3d 146, 153 (2d Cir. 2005).

       Defendants assert that if personal jurisdiction exists over Defendants, I should

nonetheless dismiss the case under the doctrine of forum non conveniens. (Def.’s Mem. 37–40.)

I disagree. My analysis begins with “the assumption that the plaintiff’s choice of forum will

stand.” Iragorri v. United Techs. Corp., 274 F.3d 65, 71 (2d Cir. 2001). The main factor

weighing against this deference is that New York is not Plaintiffs’ home forum. Although lead

Plaintiffs reside in Nevada and Texas, (Am. Compl. ¶¶ 18, 20), several other factors weigh in

favor of Plaintiffs’ choice of forum. First, as assessed supra, the dispute has numerous

connections to New York. Defendants targeted not only the United States market and potential

consumers, but specifically those in New York. (See id. ¶ 70 (Defendant Sun and other TRON

representatives attended and spoke at conferences touting TRX and TRON in New York City in

2017 and 2018); Roche Decl. Ex. 8 (YouTube video of Sun’s interview at the 2019 Consensus

conference in New York City); id. Ex. 1 (TRON Foundation’s tweet of a photograph of TRON

employees alongside the caption: “Our team was delighted to meet the $TRX community in

New York during a meetup co-hosted with @team_tronics!”); id. Ex. 2 (TRON Foundation’s




                                                    17
      Case
       Case1:20-cv-02804-VSB
            1:23-cv-02433-ER                Document 75
                                                     114 Filed
                                                          Filed10/28/24
                                                                10/23/24 Page
                                                                          Page21
                                                                               18ofof37
                                                                                      34




tweet of the New York City skyline alongside the caption: “Are you located in New York or

visiting for the holidays? Join the TRON team, industry leaders, and engineers to a social

networking event to talk more about the blockchain ecosystem and how you can be a part of

building it…”.)) Although not based in New York, Lead Plaintiffs purchased TRX tokens after

being subjected to these targeted efforts—visiting TRON’s website, reviewing the whitepapers,

and reading TRON’s social media posts. (Hardin Decl. ¶ 4; Williams Decl. ¶ 4.) 8 Moreover,

Defendants have not “made a showing that holding trial in New York would be so difficult and

inconvenient that any party would be deprived [its] day in court.” Mexico Infrastructure Fin.,

LLC v. Corp. of Hamilton, No. 17-CV-6424, 2019 WL 1206690, at *6 (S.D.N.Y. Mar. 14, 2019)

(internal citations and quotation marks omitted).

         The second step of the forum non conveniens analysis evaluates “whether the alternative

forum proposed by the defendants is adequate to adjudicate the parties’ dispute.” Norex, 416

F.3d at 153. To determine this, courts consider whether the defendant is amenable to process

there, whether the plaintiff is able to have the claims adjudicated fairly, and whether the plaintiff

can litigate his claims safely and with peace of mind. See Base Metal Trading Ltd. v. Russian

Aluminum, 98 F. App’x 47, 49–50 (2d Cir. 2004). “Only where the remedy provided by the

alternative forum is so clearly inadequate or unsatisfactory that it is no remedy at all should a

district court deny forum non conveniens dismissal on the ground that the alternative forum is

inadequate.” Id. at 50 (citations, emphasis, and quotation marks omitted). Defendants propose

Singapore as an alternative forum because TRON was incorporated under the laws of Singapore.




8
  “Hardin Decl.” refers to the Declaration of Corey Hardin in support of Plaintiffs’ opposition to Defendants’ motion
to dismiss. (Doc. 67.) “Williams Decl.” refers to the Declaration of Chase Williams in support of Plaintiffs’
opposition to Defendants’ motion to dismiss. (Doc. 69.)



                                                             18
         Case
          Case1:20-cv-02804-VSB
               1:23-cv-02433-ER                Document 75
                                                        114 Filed
                                                             Filed10/28/24
                                                                   10/23/24 Page
                                                                             Page22
                                                                                  19ofof37
                                                                                         34




(Def.’s Mem. 39; Nair Decl.) 9 Defendants offer in support a declaration from Suresh Sukumaran

Nair, an advocate and solicitor licensed in Singapore. (Nair Decl.) Nair asserts that TRON is

amenable to service of process in Singapore, (id. ¶¶ 15–18), that Singapore has a long history of

adjudicating commercial claims including those in a representative capacity, (id. ¶¶ 4–6, 19–24),

and “that Singapore courts have experience in applying foreign law,” (id. ¶ 7). I find the

alternative forum’s adequacy sufficient, in that it is not “so clearly inadequate or unsatisfactory”

that it would be “no remedy at all” to litigate Plaintiffs’ claims there. Base Metal Trading Ltd.,

98 F. App’x at 49–50.

           The third step considers the balance of “private and public interests implicated in the

choice of forum.” Norex, 416 F.3d at 153. In assessing the private interests, courts consider “the

relative ease of access to sources of proof; availability of compulsory process for attendance of

unwilling, and the cost of obtaining attendance of willing, witnesses; . . . and all other practical

problems that make trial of a case easy, expeditious and inexpensive.” Iragorri, 274 F.3d at

73–74. These factors do not weigh in favor of an alternative forum. Defendants allege that “the

heart of the case relates to events that occurred or were executed overseas, thousands of miles

from New York, where nothing giving rise to plaintiffs’ claim is alleged to have occurred.”

(Def.’s Mem. 38.) Defendants also allege that all witnesses and evidence are located outside of

New York, and all TRON or third-party witnesses and evidence are located in East Asia or

elsewhere abroad. (Id. at 39.) However, TRON’s establishment of an office in the United

States, hiring and recruiting personnel from the United States, and listing a United States address

as a base location militate against dismissal of the case under the doctrine of forum non

conveniens. (See Roche Decl. Ex. 2–4.) Moreover, Lead Plaintiffs and other members of the


9
    “Nair Decl.” refers to the Declaration of Suresh S. Nair in support of Defendants’ motion to dismiss. (Doc. 59.)



                                                                19
     Case
      Case1:20-cv-02804-VSB
           1:23-cv-02433-ER            Document 75
                                                114 Filed
                                                     Filed10/28/24
                                                           10/23/24 Page
                                                                     Page23
                                                                          20ofof37
                                                                                 34




putative class all reside in the United States. (Am. Compl. ¶¶ 18, 20, 151–53.) Singapore, the

alternative forum, may be convenient for a subset of TRON’s witnesses and perhaps a portion of

its evidence, but it makes much less sense for Defendant Sun, a Chinese citizen, and Plaintiffs,

United States citizens, in a case where significant activity was centered in New York.

       The public factors also do not weigh in favor of dismissal. Defendants assert that the

public factors—which include “[a]dministrative difficulties” which arise “when litigation is piled

up in congested centers instead of being handled at its origin”—favor an alternative forum.

(Def.’s Mem. 40 (citation omitted).) Defendants state that this “Court’s docket is one of the

busiest in the country” and the “origin” of this litigation is outside the United States. (Id.)

However, Defendants do not suggest that litigation in Singapore would proceed more

expeditiously and, as discussed, the dispute is connected to the United States and Defendants’

actions and efforts in New York. This connection—in addition to the fact that Plaintiffs allege

violations of the United States securities laws and that Plaintiffs’ putative class members reside

in the United States—is sufficient to outweigh any concerns regarding this Court’s busy docket.

For these reasons, Defendants’ motion to dismiss on the grounds of forum non conveniens is

DENIED.

               B. Statute of Limitations

                       1. Plaintiffs’ Section 12(a)(1) Claim

       Section 12(a)(1) claims are subject to a one-year statute of limitations from the date of

the violation. See In re AT&T/DirecTV Now Sec. Litig., 480 F. Supp. 3d 507, 539 (S.D.N.Y.

2020); 15 U.S.C. § 77(m). Section 12(a)(1)’s cause of action is to “sell” or “solicit” unregistered

securities. 15 U.S.C. § 77e(a). The Second Circuit has interpreted the statute’s plain text to

mean that the one-year statute of limitations begins to run from the plaintiff’s purchase of the




                                                      20
     Case
      Case1:20-cv-02804-VSB
           1:23-cv-02433-ER           Document 75
                                               114 Filed
                                                    Filed10/28/24
                                                          10/23/24 Page
                                                                    Page24
                                                                         21ofof37
                                                                                34




unregistered security. See Binance, 96 F.4th at 141 (reversing the dismissal of the plaintiffs’

claims arising from purchases made during the year before they filed this lawsuit); In re Bibox

Grp. Holdings Ltd. Sec. Litig., No. 20-CV-2807, 2021 WL 1518328, at *8 (S.D.N.Y. Apr. 16,

2021) (finding the one-year statute of limitations period begins to run from the date of the

plaintiff’s final purchase of the token); Desyatnikov v. Credit Suisse Grp., Inc., No. 10-CV-1870,

2012 WL 1019990, at *5 (E.D.N.Y. Mar. 26, 2012) (holding that the action was time-barred

because the plaintiff filed the complaint nearly two years after the date of purchase); Teitelbaum

v. Lay Siok Lin, No. 07-CV-3971, 2010 WL 11527279, at *11 (E.D.N.Y. Aug. 3, 2010) (holding

that the action was time-barred because the plaintiff filed the complaint over one year after “the

sale or delivery” of the unregistered securities); S.E.C. v. Telegram Grp. Inc., 448 F. Supp. 3d

352, 358 (S.D.N.Y. 2020) (“the Court finds that, in the context of that scheme, the resale of

Grams into the secondary public market would be an integral part of the sale of securities . . . ”).

       Defendants first argue that Plaintiffs’ actions under Section 12(a)(1) are time-barred

because they filed the initial complaint after the one-year statute of limitations period had run.

(Def.’s Mem. 12.) Defendants state the cause of action culminated during the ICO, which

extended from on or about August 24, 2017 to September 2, 2017. (Def.’s Mem. 13.) In

contrast, Plaintiffs state that each Lead Plaintiff purchased TRX within one year before the initial

complaint’s filing, making the Section 12(a)(1) claim timely. (Pl.’s Opp. 4.) Here, Plaintiff

Hardin’s last documented purchase of TRX occurred on March 21, 2020, (Am. Compl., Ex. A),

and Plaintiff Williams’s occurred on May 8, 2019, (Am. Compl., Ex. C). Plaintiffs filed their

initial complaint on April 3, 2020, less than one year after both Plaintiffs’ final purchases of

TRX. (Doc. 1.) I therefore find Plaintiffs’ Section 12(a)(1) claims timely.




                                                     21
      Case
       Case1:20-cv-02804-VSB
            1:23-cv-02433-ER                 Document 75
                                                      114 Filed
                                                           Filed10/28/24
                                                                 10/23/24 Page
                                                                           Page25
                                                                                22ofof37
                                                                                       34




                           2. Plaintiffs’ Section 12(a)(2) Claim

         Section 12(a)(2) of the Securities Act is also subject to a one-year statute of limitations,

but this subsection incorporates a discovery rule that makes a claim timely if it is “brought within

one year after the discovery of the untrue statement or the omission, or after such discovery

should have been made by the exercise of reasonable diligence.” 15 U.S.C. § 77(m); LC Cap.

Partners, LP v. Frontier Ins. Grp., Inc., 318 F.3d 148, 154 (2d Cir. 2003). To claim a statute of

limitations extension based on the discovery rule, Plaintiffs must show that they discovered

“critical facts” related to the untrue statement or omission, not that they simply realized strategic

legal arguments. In re Bibox, 2021 WL 1518328, at *9. “Ignorance of legal rights does not

delay the accrual of a claim under a discovery rule.” Id.

         A violation of Section 12(a)(2) involves a sale of securities by means of a prospectus

containing untrue statements and omissions of material facts. See 15 U.S.C. § 77l(a)(2).

Plaintiffs rely on the series of TRON whitepapers issued in the summer of 2017 to serve as the

“prospectus[es]” under Section 12(a)(2). (Am. Compl., ¶¶ 71, 105–6, 173–74.) To assert

timeliness, Plaintiffs claim that the statute of limitations did not begin to run until the SEC

published its April 3, 2019 Framework because Plaintiffs only then could have discovered

Defendants’ untrue statements and/or omissions. 10 (Pl.’s Opp. 9–10.) In other words, they could

not have known that TRX was a security until they read the Framework. (Id.) This argument

fails because the Framework did not reveal any new “critical facts.” In re Bibox, 2021 WL


10
   In a similar vein, Plaintiffs assert in their Amended Complaint that TRON made “fraudulent statements and
omissions” that prohibited them from realizing that TRX were securities until the SEC published the Framework on
April 3, 2019. (Am. Compl. ¶¶ 148–49.) Defendants address the fact that Plaintiffs failed to allege fraudulent
concealment as a basis for tolling the statute of limitations for their Section 12(a)(2) claim, (Def.’s Mem. 16–18),
but Plaintiffs do not address that argument in their opposition and in fact assert in their Amended Complaint that
their Section 12(a)(2) claim “does not allege fraud.” (Am. Compl. ¶ 175.) Because allegations of fraudulent
concealment require “particular pleading requirements set forth in Federal Rule of Civil Procedure 9(b),” see Zirvi v.
Flatley, 433 F. Supp. 3d 448, 462 (S.D.N.Y. 2020), and because Plaintiffs fail to meet those pleading requirements, I
decline to address any potential argument that Defendants’ fraudulent concealment tolled the statute of limitations.



                                                              22
      Case
       Case1:20-cv-02804-VSB
            1:23-cv-02433-ER                 Document 75
                                                      114 Filed
                                                           Filed10/28/24
                                                                 10/23/24 Page
                                                                           Page26
                                                                                23ofof37
                                                                                       34




1518328, at *9. Instead, the Framework contained “the SEC’s nonbinding interpretation of

Howey” and its potential application to cryptocurrency. Id. “While [the SEC’s] interpretation

[that the token is a security under the Howey test] may assist the plaintiff in crafting a legal

argument that [TRX] is indeed a security and subject to regulation under federal securities law,

that guidance did not extend the statute of limitations period for his claims.” See id. at *10. I

therefore do not find that the Framework publication extended the limitations period for

Plaintiffs’ Section 12(a)(2) claims.

         In any event, other fact-based publications analyzing TRX’s potential classification as a

security existed before the Framework’s publication that would have allowed a “reasonable

diligent plaintiff” to have discovered the “facts of the violation.” Merck & Co. v. Reynolds, 559

U.S. 633, 644 (2010). For example, Coin Central published an article in January 2018 that

TRON had plagiarized its whitepaper, thereby making untrue assertions about TRX’s

development status and value and omitting critical details. 11 (O’Neill Decl. Ex. 3.) 12 This news

article was published following several reports in 2017 from the SEC explaining that certain

cryptocurrencies were potentially unregistered securities. (Id., Exs. 4–6.) The SEC’s

nonbinding interpretation of a legal standard, released after the publication of other more fact-

based sources indicating TRX’s potential classification as a security, does not satisfy the

discovery rule to extend the limitations period to April 3, 2019. For these reasons, I find that

Defendants’ motion to dismiss Plaintiffs’ Section 12(a)(2) claims against Defendants is

GRANTED.


11
  A court may consider any matters that are subject to judicial notice, including publicly filed documents. See
Kramer v. Time–Warner Inc., 937 F.2d 767, 774 (2d Cir. 1991); Fullerton Ave. Land Dev. Ltd. v. Cianciulli, 48 F.
App’x 813, 814 n.1 (2d Cir. 2002) (referencing the Second Circuit’s “well-established rule that a district court may
rely upon publicly filed records in deciding a motion to dismiss”).
12
   “O’Neill Decl.” refers to the Declaration of Casey O’Neill in support of Defendants’ motion to dismiss. (Doc.
57.)



                                                             23
      Case
       Case1:20-cv-02804-VSB
            1:23-cv-02433-ER                Document 75
                                                     114 Filed
                                                          Filed10/28/24
                                                                10/23/24 Page
                                                                          Page27
                                                                               24ofof37
                                                                                      34




                 C.       Plaintiffs’ Standing as Secondary Market Purchasers

                          1. Section 12(a)(1) Standing

        Section 5 of the Securities Act 13 “does not limit liability to initial distribution,” but

applies to subsequent transactions as well. See S.E.C. v. Phan, 500 F.3d 895, 902 (9th Cir. 2007)

(internal citations omitted). The Supreme Court held in Gustafson v. Alloyd Co., 513 U.S. 561

(1995), that the word “prospectus” in Section 12(a)(2) of the Securities Act applied to

“documents related to public offerings by an issuer or its controlling shareholder,” thus barring

Section 12(a)(2)’s application to secondary market purchasers that do not involve a prospectus.

Id. at 569. However, Section 12(a)(1) does not include any reference to a prospectus, but rather

provides that “[a]ny person who . . . offers or sells a security in violation of section [5] of this

title . . . shall be liable, subject to subsection (b), to the person purchasing such security from

him.” 15 U.S.C. § 77l(a).

        Courts in this Circuit have recognized that, unlike Section 12(a)(2), Section 12(a)(1)

applies to the unlawful sale of an unregistered security in an initial offering and in any

subsequent sales. See S.E.C. v. Caledonian Bank Ltd., 145 F. Supp. 3d 290, 306 (S.D.N.Y.

2015) (finding that Section 5 liability covers the reselling of unregistered securities following an

initial offering); S.E.C. v. Universal Exp., Inc., 475 F. Supp. 2d 412, 422 (S.D.N.Y. 2007)

(“Registration of a security is transaction-specific, in that the requirement of registration applies

to each act of offering or sale; proper registration of a security at one stage does not necessarily

suffice to register subsequent offers or sales of that security” (internal quotation marks omitted));



13
  Section 5 of the Securities Act makes it unlawful to directly or indirectly “make use of any means or instruments
of transportation or communication in interstate commerce or of the mails to sell such security through the use or
medium of any prospectus or otherwise” or to “carry or cause to be carried through the mails or in interstate
commerce, by any means or instruments of transportation, any such security for the purpose of sale or for delivery
after sale.” 15 U.S.C. § 77e(a).



                                                             24
     Case
      Case1:20-cv-02804-VSB
           1:23-cv-02433-ER            Document 75
                                                114 Filed
                                                     Filed10/28/24
                                                           10/23/24 Page
                                                                     Page28
                                                                          25ofof37
                                                                                 34




S.E.C. v. Cavanagh, 155 F.3d 129, 133 (2d Cir. 1998) (“Each sale of a security, then, must either

be made pursuant to a registration statement or fall under a registration exemption.” (citation

omitted)); Levitt v. J.P. Morgan Sec. Inc., 9 F. Supp. 3d 259, 273 (E.D.N.Y. 2014) (“[O]nce a

security has been sold pursuant to a registration statement, subsequent sales are not themselves

sales for which a registration statement is in effect. Each sale of a security, then, must either be

made pursuant to a registration statement or fall under a registration exemption.” (quoting

Cavanagh, 155 F.3d at 133)).

       Defendants do not point to—nor have I otherwise located—any cases supporting their

argument that Plaintiffs do not have standing to bring a Section 12(a)(1) claim for a transaction

on the secondary market. The cases Defendants cite interpret only Section 12(a)(2) and the

reasoning that aftermarket purchasers cannot claim Section 12(a)(2) violations, discussed infra in

further detail. (Def.’s Mem. 18–20.) The logic that prohibits secondary market purchasers from

bringing a claim under Section 12(a)(2) because they did not participate in the initial coin

offering does not extend to Section 12(a)(1) claims, and I decline to extend it here. For these

reasons, I find that Plaintiffs have standing to assert their claims that Defendants violated Section

12(a)(1) of the Securities Act.

                       2. Section 12(a)(2) Standing

       In addition to finding that Plaintiffs’ Section 12(a)(2) claims are untimely, see supra

Section IV.B.2, I also note that Plaintiffs lack standing as secondary market purchasers to claim a

violation of Section 12(a)(2). “To recover under Section 12(a)(2), a plaintiff must allege that he

purchased shares from an issuer ‘who offers or sells a security . . . by means of a prospectus.’”

In re Wachovia Equity Sec. Litig., 753 F. Supp. 2d 326, 373 (S.D.N.Y. 2011) (quoting 15 U.S.C.

§ 77l (a)(2). As explained by one district court:




                                                     25
     Case
      Case1:20-cv-02804-VSB
           1:23-cv-02433-ER            Document 75
                                                114 Filed
                                                     Filed10/28/24
                                                           10/23/24 Page
                                                                     Page29
                                                                          26ofof37
                                                                                 34




       In Gustafson v. Alloyd Co., 513 U.S. 561 (1995), the Supreme Court interpreted the
       ‘prospectus’ requirement to mean that Section 12(a)(2) does not apply to a private
       contract for a secondary market sale of securities . . . Based on Gustafson, the
       Second Circuit subsequently held that a Section 12(a)(2) action ‘cannot be
       maintained by a plaintiff who acquires securities through a private transaction,
       whether primary or secondary.’”

Id. (quoting Yung v. Lee, 432 F.3d 142, 149 (2d Cir. 2005)); see also In re Cosi, Inc. Sec. Litig.,

379 F. Supp. 2d 580, 589 (S.D.N.Y. 2005) (“[B]ecause the plaintiffs have not alleged that they

purchased their shares in the [initial public offering], they have failed to allege that they have

standing to bring a claim under § 12(a)(2).”).

       Plaintiffs here do not contest that they did not purchase TRX tokens during the ICO.

Lead Plaintiffs Hardin and Williams purchased them on the Binance exchange several months

later. (Am. Compl. Exs. A, C.) Under Second Circuit law, liability under Section 12(a)(2)

hinges on the existence of a prospectus and therefore applies only to transactions made during an

initial public offering and not aftermarket transactions. Accordingly, I conclude that, even if

Plaintiffs’ Section 12(a)(2) claims were timely, because Plaintiffs were aftermarket purchasers of

TRX, they do not have standing to claim a Section 12(a)(2) violation.

                       3. Standing Over State Law Claims

       “Where . . . a named class action plaintiff brings state law claims that may not be brought

by the named plaintiff, but may be brought by putative class members, courts typically address

only the state law claims of the named plaintiff at the motion to dismiss stage and do not address

the standing and merits arguments with respect to the additional state law claims unless and until

the motion to dismiss is denied and a motion for class certification is granted pursuant to Rule

23, Fed. R. Civ. P.” In re Bibox, 2021 WL 1518328, at *4. “As long as the named plaintiffs

have standing to sue the named defendants, any concern about whether it is proper for a class to

include out-of-state, nonparty class members with claims subject to different state laws is a



                                                     26
     Case
      Case1:20-cv-02804-VSB
           1:23-cv-02433-ER           Document 75
                                               114 Filed
                                                    Filed10/28/24
                                                          10/23/24 Page
                                                                    Page30
                                                                         27ofof37
                                                                                34




question of predominance under Rule 23(b)(3).” Langan v. Johnson & Johnson Consumer

Companies, Inc., 897 F.3d 88, 93 (2d Cir. 2018); see also Binance, 96 F.4th at 145.

       Plaintiffs allege primary liability against Defendant TRON and additional liability against

Defendant Sun as a control person under the state Blue Sky securities laws of nearly every state,

the District of Columbia, and Puerto Rico. (Am. Compl. ¶¶ 187–1038.) Plaintiffs state that they

bring those claims “on behalf of Class members to whom TRX tokens were offered or sold” in

each state and territory. (Id.) Lead Plaintiff Hardin is a resident of Nevada and purchased TRX

in Nevada, and Lead Plaintiff Williams is a resident of Texas and purchased TRX in Texas. (Id.

¶¶ 18, 20.) Neither Plaintiff alleges that he purchased TRX in any of the other states or

territories cited in the Amended Complaint.

       I must then first assess Lead Plaintiffs’ Nevada and Texas state law claims since they are

residents of those states. The Nevada and Texas statutes make it unlawful for a person to offer to

sell or sell an unregistered security in those states. Nev. Rev. Stat. §§ 90.460–90; Texas Civ. St.

Art. §§ 581-7, 581-33. Defendants argue that both statutes contain a privity requirement

equivalent to the federal law requirement for Section 12(a)(1) claims, discussed supra. (Def.’s

Mem. 30–31.) Since I find that, as secondary market purchasers, Plaintiffs can satisfy that

standard, as noted supra in Section IV.C.1, I find the same here.

       Defendants also contend that the Nevada state law claim is barred by the two-year statute

of limitations. (Def.’s Mem. 31) (citing Nev. Rev. Stat. § 90.670.) This argument fails because

Plaintiff Hardin purchased TRX as late as March 21, 2020, less than one month before Plaintiffs

filed the initial complaint and less than six months before they filed the Amended Complaint.

(Am. Compl. Ex. A, at 27). For the same reasons that I find Plaintiffs’ Section 12(a)(1) claims

are timely, see supra Section IV.B.1, I find that Plaintiffs’ Nevada state law claims are timely.




                                                    27
      Case
       Case1:20-cv-02804-VSB
            1:23-cv-02433-ER            Document 75
                                                 114 Filed
                                                      Filed10/28/24
                                                            10/23/24 Page
                                                                      Page31
                                                                           28ofof37
                                                                                  34




        Plaintiffs’ Nevada and Texas state law claims must therefore survive dismissal. Since

neither Plaintiff claims to have purchased TRX in any other state or territory, I do not address the

standing and merits arguments regarding the remaining ninety-six state law claims and find that

those are more well-suited for a Rule 23 motion for class certification. See Langan, 897 F.3d at

93; In re Bibox, at *4; Binance, 96 F.4th at 145.

                D.      Defendant TRON as a Statutory Seller

        Either an entity or an individual can qualify as a “statutory seller” for liability under

Section 12 of the Securities Act. Hawaii Structural Ironworkers Pension Tr. Fund, Inc. v. AMC

Ent. Holdings, Inc., 338 F.R.D. 205, 218 (S.D.N.Y. 2021). An entity may be liable under

Section 12 of the Securities Act if it “successfully solicits the purchase of securities, so long as

[it] is motivated at least in part by a desire to serve [its] own financial interests or those of the

securities owner.” Balestra, 380 F. Supp. 3d at 357 (quoting Pinter v. Dahl, 486 U.S. 622, 643

(1988)). “Liability does not require that the defendant actually passed title of the security; rather,

an entity or individual who ‘engaged in steps necessary to the distribution’ of the unregistered

security is liable.” Id. (quoting S.E.C. v. Tecumseh Holdings Corp., No. 03-CV-5490, 2009 WL

4975263, at *3 (S.D.N.Y. Dec. 22, 2009)).

        Defendants claim that TRON cannot be liable for a violation under Section 12 because

TRON is not a “statutory seller.” (Def.’s Mem. 20.) Defendants argue that Plaintiffs must have

had direct contact with TRON, and they cannot show that because they purchased the TRX

tokens on the Binance exchange, rather than directly from TRON itself. (Id. at 20–21.)

Defendants’ argument that Plaintiffs must have purchased TRX tokens from TRON is meritless.

Balestra establishes that a defendant need not pass title of the security, but rather engage in

“steps necessary to the distribution” of the unregistered security. 380 F. Supp. at 357. Here,




                                                       28
     Case
      Case1:20-cv-02804-VSB
           1:23-cv-02433-ER             Document 75
                                                 114 Filed
                                                      Filed10/28/24
                                                            10/23/24 Page
                                                                      Page32
                                                                           29ofof37
                                                                                  34




TRON published numerous whitepapers promoting TRX, (Am. Compl. ¶¶ 5, 27, 54, 59, 66, 82),

and TRON issued press releases advertising TRX to potential consumers and investors, (id.

¶¶ 80–81, 131). The official TRON Foundation Twitter account posted promotions and other

efforts to solicit purchases of TRX. (Id. ¶ 67.) TRON also advertised TRX on its website,

touting its value and performance and posting links to exchanges where potential customers

could purchase TRX. (Id.) Plaintiffs’ allegations about TRON’s actions to promote and solicit

TRX tokens are sufficient to demonstrate that TRON engaged in “steps necessary to the

distribution” of TRX to survive a motion to dismiss for a Section 12 violation. Balestra, 380 F.

Supp. at 357; see also In re WorldCom, Inc. Secs. Litig., 294 F.Supp.2d 392, 423 (S.D.N.Y.

2003) (deeming allegation that a defendant engaged in marketing efforts, such as participation in

“road show” meetings, sufficient to qualify defendant as a statutory seller for a Section 12

claim).

                 E.      Control Person Liability as to Defendant Sun

          An individual who “controls any person liable under [§ 12 of the Act] shall also be liable

jointly and severally with and to the same extent as such controlled person to any person to

whom such controlled person is liable.” 15 U.S.C. § 77o(a). “In order to state a claim for

control person liability under section 15 of the Securities Act, a plaintiff must allege (a) a

primary violation by a controlled person, and (b) control by the defendant of the primary

violator.” Balestra, 380 F. Supp. 3d at 359 (internal citation omitted). As I already found,

Plaintiffs plausibly alleged “a primary violation” of Section 12(a)(1) through their claims that

Defendant TRON engaged in the sale of unregistered securities. As to the second element to

state a claim for control person liability, “the Second Circuit defines ‘control’ as ‘the power to

direct or cause the direction of the management and policies of the primary violators, whether




                                                      29
       Case
        Case1:20-cv-02804-VSB
             1:23-cv-02433-ER         Document 75
                                               114 Filed
                                                    Filed10/28/24
                                                          10/23/24 Page
                                                                    Page33
                                                                         30ofof37
                                                                                34




through the ownership of voting securities, by contract, or otherwise.’” Id. (quoting In re

Lehman Bros. Mortg.-Backed Sec. Litig., 650 F.3d 167, 185 (2d Cir. 2011)).

        Plaintiffs allege control person liability against Defendant Sun for a violation of Section

12(a)(1) and additional liability as to the one hundred Blue Sky state law claims. (Am. Compl.

¶¶ 180–1038.) Defendant Sun is a co-founder and serves as CEO of TRON. (Id. ¶¶ 22, 68.)

Plaintiffs allege that, in these roles, Sun negotiated partnerships between TRON and other

companies. (Id. ¶ 94.) TRON also touted Sun’s involvement in the company in its press releases

and on social media, listing his biography and qualifications. (Id. ¶ 131.) Moreover, Sun was

heavily involved in launching the TRX ICO through his many TRX promotions on social media

and at local conferences. (Id. ¶¶ 27–28, 67, 70, 79, 92.) The whitepaper highlighted Sun as an

“integral part[] of the success of TRX.” (Id. ¶130.) Sun’s involvement in founding the

company, serving as its CEO, negotiating its partnerships, playing a vital role in its development,

and launching the TRX ICO is sufficient to establish that Sun “possessed the power to direct or

cause the direction of the management and policies” of TRON, and Plaintiffs can assert

additional liability as to Defendant Sun as a control person. See Balestra, 380 F. Supp. 3d at

359.

               F.      Application of the United States Securities Laws

        The United States securities laws apply to “purchases and sales of securities in the United

States.” Morrison v. Nat’l Australia Bank Ltd., 561 U.S. 247, 266 (2010). This means either (1)

“transactions in securities listed on domestic exchanges” or (2) “domestic transactions in other

securities.” Id. at 267. In other words, the plaintiff must show the “transactions at issue were

either listed on domestic exchanges, or that the purchase or sale occurred in the United States.”

Rubenstein v. Cosmos Holdings, Inc., No. 19-CV-6976, 2020 WL 3893347, at *10 (S.D.N.Y.




                                                     30
      Case
       Case1:20-cv-02804-VSB
            1:23-cv-02433-ER            Document 75
                                                 114 Filed
                                                      Filed10/28/24
                                                            10/23/24 Page
                                                                      Page34
                                                                           31ofof37
                                                                                  34




July 10, 2020) (citations omitted).

          “[A] securities transaction occurs when the parties incur irrevocable liability.” Absolute

Activist Value Master Fund Ltd. v. Ficeto, 677 F.3d 60, 67 (2d Cir. 2012). “[T]o sufficiently

allege a domestic securities transaction in securities not listed on a domestic exchange, we hold

that a plaintiff must allege facts suggesting that irrevocable liability was incurred or title was

transferred within the United States.” Id. at 68. Conclusory allegations that a transaction “took

place in the United States” are insufficient, but allegations “that title was transferred within the

United States, including, but not limited to, facts concerning the formation of the contracts, the

placement of purchase orders, the passing of title, or the exchange of money” are sufficient. Id.

at 70. A transaction can occur in “more than one location.” Fed. Hous. Fin. Agency for Fed.

Nat’l Mortg. Ass’n v. Nomura Holding Am., Inc., 873 F.3d 85, 156 (2d Cir. 2017). “For

example, if the buyer ‘incur[s] irrevocable liability . . . to take and pay for a security’ in New

York and the ‘seller incur[s] irrevocable liability . . . to deliver a security’ in New Jersey, the

transaction occurs in both New York and New Jersey.” Id. (quoting Absolute Activist, 677 F.3d

at 68.)

          Defendants allege the federal securities law cannot apply to the transactions at issue

because Plaintiffs purchased TRX on Binance, a Malta-based company, and they cannot satisfy

either prong of Morrison, 561 U.S. 247 (2010). (Def.’s Mem. 28–31.) Defendants are mistaken

and ignore certain allegations in the Amended Complaint. First, with regard to the second prong

of Morrison, Lead Plaintiffs placed their trades in Nevada and Texas. (Am. Compl. ¶¶ 18, 20.)

Plaintiffs then continued to buy and sell TRX in the United States. (Id. Exs. A, C.) Although

details of the sales are not in the pleadings, the Amended Complaint adequately alleges that

Plaintiffs held, and still may hold, some of these TRX tokens. (Id. ¶¶ 145–46.) These factual




                                                      31
     Case
      Case1:20-cv-02804-VSB
           1:23-cv-02433-ER            Document 75
                                                114 Filed
                                                     Filed10/28/24
                                                           10/23/24 Page
                                                                     Page35
                                                                          32ofof37
                                                                                 34




allegations exceed conclusory allegations, such as that the transaction “took place in the United

States,” relied on by courts that have dismissed claims under the second prong of Morrison,

including many of the cases Defendants cite in their motion. Absolute Activist, 677 F.3d at 70.

The allegations here encompass “facts concerning the formation of the contracts, the placement

of purchase orders, the passing of title, or the exchange of money,” id., which are sufficient to

satisfy Morrison. Fed. Hous. Fin. Agency., 873 F.3d at 156. Even if the parties discover that

Binance is in fact not a domestic exchange, see infra, the transaction occurred in both the United

States and Malta under this Circuit’s case law. See id.; Absolute Activist, 677 F.3d at 68. I

therefore find the allegations sufficient at this stage in the proceedings to reasonably infer that

the transaction was domestic. See also In re Poseidon Concepts Sec. Litig., No. 13-CV-1213,

2016 WL 3017395, at *12 (S.D.N.Y. May 24, 2016) (holding that because Plaintiff purchased

stock in Florida through a local office, the purchase qualified as a “domestic transaction in other

securities” under Morrison, 561 U.S. 247 (2010)); Fed. Hous. Fin. Agency., 873 F.3d at 156

(holding that a transaction occurred both where the plaintiffs accepted the purchase and where

defendants released the purchase).

       Defendants also argue that Plaintiffs cannot meet the first prong of Morrison—that

application of federal securities laws requires the unregistered security be listed on a domestic

exchange—because Binance is based in Malta. (Def.’s Mem. 29–30) (citing Morrison, 561 U.S.

at 267.)) Plaintiffs assert that they “will establish through discovery that Binance is a domestic

U.S. exchange,” but that their claims nonetheless satisfy Morrison because the conduct directly

affected a nationally listed security. (Pl.’s Opp. 27) (citing Rubenstein, 2020 WL 3893347, at

*11 (finding that Plaintiff’s allegations that Defendant is a domestic corporation sufficient when

drawing inferences in Plaintiff’s favor on a motion to dismiss); S.E.C. v. Compania




                                                      32
     Case
      Case1:20-cv-02804-VSB
           1:23-cv-02433-ER           Document 75
                                               114 Filed
                                                    Filed10/28/24
                                                          10/23/24 Page
                                                                    Page36
                                                                         33ofof37
                                                                                34




Internacional Financiera S.S., 2011 WL 3251813, at *6 (S.D.N.Y. July 29, 2011) (finding

allegations that conduct affected a domestically listed security sufficient on a motion to

dismiss)). Plaintiffs state in their Amended Complaint that “TRON entered into listing

agreements with crypto-asset exchanges that targeted United States consumers with the intent of

creating secondary trading markets for the purchase, sale, and trading of TRX in the United

States.” (Am. Compl. ¶ 137.) Plaintiffs then name several of those U.S.-based exchanges that

listed TRX following the ICO, including Bittrex, BitMEX, Poloniex, and Kraken. (Id. ¶¶ 140–

43.) Defendants cite a number of cases to demonstrate that the Second Circuit has rejected this

“cross-listing” theory, (see Def.’s Reply 12), but those cases differ materially in that they involve

foreign individuals purchasing foreign securities on foreign exchanges. See City of Pontiac

Policemen’s & Firemen’s Ret. Sys. & UBS AG, 752 F.3d 173 (2d Cir. 2014); In re Satyam

Computer Servs. Ltd. Sec. Litig., 915 F. Supp. 2d 450 (S.D.N.Y. 2013). Here, as discussed,

Plaintiffs reside in Nevada and Texas, made their purchases from Nevada and Texas, held TRX

tokens in Nevada and Texas, and continued to buy and sell on Binance from Nevada and Texas.

(Am. Compl. ¶¶ 18, 20, 145–46.)

       For these reasons, Plaintiffs’ allegations that Binance is a domestic U.S. exchange, in

addition to statements that the conduct affected a domestically listed security, are sufficient to

satisfy the first prong of Morrison on a motion to dismiss and proceed to discovery, where the

parties can more adequately explore and address these questions. See Tandon v. Captain’s Cove

Marina of Bridgeport, Inc., 752 F.3d 239, 243 (2d Cir. 2014) (a district court resolving a motion

to dismiss under Rule 12(b)(1) “must take all uncontroverted facts in the complaint . . . as true,

and draw all reasonable inferences in favor of the party asserting [subject matter] jurisdiction.”).




                                                     33
     Case
      Case1:20-cv-02804-VSB
           1:23-cv-02433-ER          Document 75
                                              114 Filed
                                                   Filed10/28/24
                                                         10/23/24 Page
                                                                   Page37
                                                                        34ofof37
                                                                               34




               Conclusion

       For the foregoing reasons, I find that Defendants’ motion to dismiss is GRANTED in part

and DENIED in part.

       Defendants’ motion is DENIED as to the Section 12(a)(1) claims against Defendants

TRON and Sun and the remaining one hundred Blue Sky state law claims.

       Defendants’ motion to dismiss is GRANTED as to the Section 12(a)(2) claims against

Defendants TRON and Sun.

       Defendants are directed to submit an answer to Plaintiffs’ Amended Complaint within

twenty-one (21) days of the date that this Opinion & Order is filed.

       The Clerk’s office is directed to terminate the open motion at Document 54.

SO ORDERED.

Dated: October 23, 2024
       New York, New York

                                                   ______________________
                                                   Vernon S. Broderick
                                                   United States District Judge




                                                    34
